Case 3:06-cr-30166-DRH       Document 141 Filed 05/03/07        Page 1 of 2   Page ID
                                       #223



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RODNEY McCARRON,

      Defendant.                                        Case No. 06-cr-30166-DRH-8

                                       ORDER

HERNDON, District Judge:

             On April 23, 2007, the Court issued an Order (Doc. 138), granting

defendant Rodney McCarron’s Motion to Travel (Doc. 137). Because McCarron will

be traveling to attend his daughter’s wedding in Nassau, Bahamas on May 23, 2007,

returning to St. Louis, Missouri on May 29, 2007, he will need his passport and

thus, has filed a Motion for Temporary Release of Passport (Doc. 140). Defendant

requests that his passport, which was surrendered to U.S. Probation Office as a

condition of his bond, be temporarily released, as it is required for him to travel

outside of the country.     The Motion states that neither the Government nor

Defendant’s pretrial officer objects to this request.

             Given that the Court’s previous Order allowing this travel would be

rendered ineffective if Defendant did not have the necessary identification permitting

him to board the airplane and enter the Bahamas, Defendant’s Motion (Doc. 140) is

GRANTED.      The U.S. Probation Office is hereby directed to release defendant

                                     Page 1 of 2
Case 3:06-cr-30166-DRH      Document 141 Filed 05/03/07      Page 2 of 2   Page ID
                                      #224



Rodney McCarron’s passport for the express purposes of allowing him to travel

pursuant to the Court’s April 23, 2007 Order (Doc. 138). The U.S. Probation Office

shall release Defendant’s passport on May 22, 2007. Defendant is ORDERED to

return/surrender his passport to the U.S. Probation Office within 24 hours after his

scheduled return (on May 29, 2007) from his permitted travel to Nassau, Bahamas.

Defendant’s failure to comply with this Order may result in the revocation of his

release on bond.

            IT IS SO ORDERED.

            Signed this 3rd day of May, 2007.

                                                     /s/     David RHerndon
                                                     United States District Judge




                                    Page 2 of 2
